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            In the United States Court of Federal Claims
                                  No. 05-457C

                            (Filed November 7, 2008)

                                UNPUBLISHED
 * * * * * * * * * * * * * * *
 GEE & JENSON ENGINEERS,     *              Breach of Contract Claim; 41
 ARCHITECTS, AND PLANNERS *                 U.S.C. §§ 605(a), 609(a)(3)
                             *              (2000); RCFC 56; 48 C.F.R. §
                Plaintiff,   *              52.236-23 (2007); Failure to
                             *              Design Building in Accordance
          v.                 *              with Contract Specifications;
                             *              Professional Standard of Care;
 THE UNITED STATES,          *              Breach of Contract Damages
                             *              Resulting From Faulty Design.
                Defendant.   *
 * * * * * * * * * * * * * * *
     William A. Scott, Washington, D.C., for plaintiff.

      Tara K. Hogan, United States Department of Justice, with whom were
Gregory G. Katsas, Acting Assistant Attorney General, Jeanne E. Davidson,
Director, Donald E. Kinner, Assistant Director, Washington D.C., for defendant.
Pamela J. Nestell, United States Department of the Navy, Washington, D.C., of
counsel.

                        __________________________

                               OPINION
                        _______________________

Bush, Judge.

     This contract dispute is currently before the court on cross-motions for
summary judgment under Rule 56 of the Rules of the United States Court of Federal
Claims (RCFC). Oral argument was neither requested by the parties nor required
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by the court. For the reasons given below, plaintiff’s motion is denied and
defendant’s cross-motion is granted.

                                        BACKGROUND1

I.     The Contract Dispute

       Plaintiff Gee & Jenson Engineers, Architects and Planners (Gee & Jenson), a
business located in West Palm Beach, Florida, provides architectural and
engineering services (A/E services). Compl. ¶ 1; Def.’s App. at 2.2 On July 20,
1993, Gee & Jenson entered into Contract No. N62467-93-D-0911 (the contract)
with the United States Department of the Navy (Navy) to “design and provide
engineering services for construction of buildings, some of which were located in
Charleston, South Carolina.” Compl. ¶ 3.

      Gee & Jenson ostensibly completed the work required by the contract, and
the buildings were constructed in accordance with plaintiff’s design. In the spring
of 1998, the Navy discovered water leaks in what is called the “NISE East building”
located in Charleston, South Carolina.3 On June 2, 1998, the Navy met with Gee &
Jenson to discuss methods to resolve the water problems in the NISE East building.
Gee & Jenson contended that it was not responsible for the water damage in the
NISE East building while the government argued that Gee & Jenson was
responsible for the water damage because plaintiff failed to include flashing in the
building design.4 This is the central issue of the contract dispute between the

        1
         / The facts set forth are undisputed unless otherwise indicated.
        2
        / “Def’s App.” refers to the appendix to defendant’s cross-motion for summary
 judgment.
        3
          / “The NISE East Building is a two-story masonry and brick veneer building with a
 window wall extending essentially all the way around the building on each floor. The windows
 sit on a precast concrete sill.” Pl.’s Mot. at 2.
        4
         / The Navy’s expert, William F. Riesberg, defines flashing and its purpose as follows:

                 The purpose of flashing is to protect exterior walls, floors exposed
                 to the weather, and roofs to prevent water infiltration or to redirect
                 water to the exterior. A flashing material is impervious. Through-
                                                                                          (continued...)

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parties. The court will briefly discuss the parties’ arguments below, with a more
detailed discussion set forth later in the opinion.

       Defendant argues that Gee & Jenson breached the contract when plaintiff
failed to comply with a mandatory requirement of the contract: “the requirement
for flashing at obstructions in exterior walls, such as precast sills, in all buildings
constructed for SOUTHDIV.” Def.’s Mot. at 2. Defendant contends that the
contract required the NISE East building “to be designed in accordance with criteria
identified by NAVFAC Southern Division, including NAVFAC guide
specifications, regional guide specifications, technical guidance documents, and
other referenced sources for criteria such as military handbooks, design manuals,
and NAVFAC Publications. All of these criteria required use of flashing.” Def.’s
Reply at 3 (citation omitted). Defendant asserts that Gee & Jenson’s failure to
provide flashing in the building as mandated by the contract resulted in the Navy
incurring “reasonable and foreseeable monetary damages associated with correcting
the effects of the defective design in the NISE East building.” Def.’s Mot. at 3.
Expanding upon these arguments, the government states its position as follows:

              The pivotal issue is not the cause of the initial water
              infiltration in 1998. The issue is that without flashing,
              there was no way for water to escape from the building.
              Rather, the issue is whether Gee & Jenson’s omission of
              the flashing caused the Government to incur costs for a
              remedial design. The lack of flashing in the constructed
              building is directly attributable to one party: Gee &
              Jenson. Without reliable or adequate water intrusion
              protection in the NISE East Building, including a means
              of egress once the water has entered the building, the
              Navy faced the possibility of severe damage in the future.
              Gee & Jenson’s contention that it should not be


      4
       (...continued)
                wall flashing, as its name implies, typically goes through the
                components that compose a wall assembly to redirect water to the
                exterior. Properly designed and constructed, through-wall flashing
                redirects water to the exterior, regardless of the source of water.

Def.’s App. at 479.

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responsible for ensuring the “life and maintainability” of the building throughout
the life–cycle is a non-sequitur. Gee & Jenson expressly contracted to provide a
building which would last for fifty years. The Navy was entitled, at a minimum, to
a building which did not leak within one year of construction.

Def.’s Reply at 11-12 (citations omitted). Because of Gee & Jenson’s alleged
breach of contract, defendant requests the court to grant summary judgment in its
favor, dismiss plaintiff’s complaint, and enter judgment in favor of defendant in the
amount of $172,186.40, plus interest and attorney fees.

      Alternatively, defendant argues that if the court does not find that the A-E
Guide and the NAVFAC guide specifications were incorporated into the contract by
reference, the court should determine that plaintiff breached the professional
standard of care by its failure to install flashing in the building design.

        In response to defendant’s breach of contract claim, Gee & Jenson contends
that it was not responsible for the water damage found in the NISE East building,
and therefore it did not breach the contract. Plaintiff makes several arguments in
this regard. First, plaintiff states that Gee & Jenson was “required to design the
building in accordance with the applicable building code in effect at the time, the
1991 Standard Building Code.” Pl.’s Mot. at 5. Plaintiff further states that “[t]here
was no requirement in the Contract that required Gee & Jenson exceed the
requirements of the building code.” Id. (citations omitted). Because the building
code did not mandate flashing, plaintiff argues that Gee & Jenson did not breach the
contract.

        Second, plaintiff asserts that the contract did not require Gee & Jenson to
design the building in accordance with the guide specifications. “While Gee &
Jenson acknowledged the guide specifications had to be used for development of
the construction specifications, Gee & Jenson did not understand that the guide
specifications impose specific design requirements.” Pl.’s Reply at 7. Plaintiff
further asserts that “[e]ven if the Court were to determine that the guide
specifications were required to be followed in the design of the project, the guide
specifications do not require sill flashing in this design.” Id. at 8. Finally, plaintiff
argues that the lack of flashing was not the actual cause of the water damage. Gee
& Jenson contends that the water damage in the NISE East building was caused by
the construction defects of the construction contractor, Pizzagalli Construction
Company (Pizzagalli), and the government’s failure to maintain the building. “[I]f

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the joints had been installed properly by Pizzagalli, and if the Government
maintained the building, the caulking joints between the precast sills would never
be a problem.” Pl.’s Mot. at 8; Pl.’s Facts ¶¶ 13,16. Because of the foregoing
reasons, plaintiff concludes that it is not responsible for the alleged design error of
the NISE East building.

II.   Events Preceding the Alleged Breach of Contract

      As previously discussed, the government entered into Contract No. N62467-
93-D-0911 with Gee & Jenson for design and engineering services. The contract
included design services for different buildings under separate delivery contracts.
Attached as a part of the contract was Appendix B entitled “Architect-Engineer
Clauses, Indefinite Delivery Requirement (IDR) Contract” dated June 1993. Def.’s
Facts ¶ 2; Pl.’s Resp. to Def.’s Facts ¶ 2. Appendix B incorporated several clauses
by reference into the contract, including FAR 52.236-23. FAR 52.236-23 defined
the A/E contractor’s responsibility under the contract as follows:

             (a) The Contractor shall be responsible for the
             professional quality, technical accuracy, and the
             coordination of all designs, drawings, specifications, and
             other services furnished by the Contractor under the
             contract. The Contractor shall, without additional
             compensation, correct or revise any errors or deficiencies
             in its design, drawings, specifications, and other services.
             (b) Neither the Government’s review, approval, or
             acceptance of, nor payment for, the services required
             under this contract shall be construed to operate as a
             waiver of any rights under this contract or any other cause
             of action arising out of the performance of this contract,
             and the Contractor shall be and remain liable to the
             Government in accordance with applicable law for all
             damages to the Government caused by the Contractor’s
             negligent performance of any of the services furnished
             under this contract.
             (c) The rights and remedies of the Government provided
             for under this contract are in addition to any other rights
             and remedies provided by law.
             (d) If the Contractor is comprised of more than one legal

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               entity, each such entity shall be jointly and severally liable
               hereunder.

48 C.F.R. § 52.236-23 (2007); Def.’s App. at 21.

       On September 3, 1993, the Navy awarded Delivery Order 00001 under the
A/E contract for the design of the NISE East Complex, including the “construction
of a new engineering center, conversion of several buildings to lab spaces and
upgrading of warehouses at the Naval Weapons Station, in Charleston, South
Carolina.” Def.’s Facts ¶ 3; Def.’s App. at 35. Attached as part of the delivery
order under the contract was Attachment A, Statement of Work (SOW); Section 2
of the SOW described the scope of Gee & Jenson’s services as follows:

               Phase I of A/E services includes project development, and
               on site analysis sessions. Phase II of A/E Service includes
               on site schematic sessions, facilities studies, and
               parametric cost estimating and programming, for the
               Project. Phase III of A/E services includes development
               of a complete design for the Project including preparation
               of drawings, specifications, design calculations, and
               detailed estimates of construction cost. The A/E shall
               conform to the requirements of
               SOUTHNAVFACENGCOM P-141 (A-E Guide), except as
               modified herein. The A-E will be held responsible for the
               quality of their work. If the EIC/AIC determines that a
               design submittal is unacceptable, thus necessitating a
               resubmittal, the Contracting Officer may require the A/E
               to travel to SOUTHNAVFACENGCOM at no additional
               cost to the Government to resolve the problems with the
               design.

Def.’s Facts ¶ 4; Def.’s App. at 40 (emphasis added).5 Additionally, Section 3.1 of
the SOW, entitled “Design Criteria and Project Specifications” also provided that
Gee & Jenson was required to design the project according to the criteria and guide


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       / The term SOUTHNAVFACENGCOM is the abbreviation for Southern Division,
Naval Facilities Engineering Command. Def.’s App. at 79.

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specifications listed in the current SOUTHNAVFACENGCOM Index of Criteria:

            A/E shall design the project and prepare the project
            specifications in accordance with criteria and guide
            specifications listed in the current
            “SOUTHNAVFACENGCOM Index of Criteria” (Guide
            00001), and with other criteria as may be provided by the
            EIC/AIC. This “Index of Criteria” lists Guide
            Specifications, NAVFAC Design Manuals, Military
            Handbooks, and other types of criteria documents; the
            “Index of Criteria” can only be obtained from
            SOUTHNAVFACENGCOM. The Compact Disc-Read
            Only Memory (CD-ROM) system titled Construction
            Criteria Base (CCB), distributed by the National Institute
            of Building Sciences (NIBS), includes most of the criteria
            used for SOUTHNAVAFACENGCOM projects; this
            same criteria is available (in paper copies) from the Naval
            Publications and Forms Center.

Def.’s Facts ¶ 8; Def.’s App. at 53. Section 3.1.2 entitled “Design Kit,” provided
that the SOUTHNAVAFACENGCOM Index of Criteria would be furnished to the
A/E contractor as part of the design kit upon contract award:

            After the award of the A/E contract, (and after each
            amendment to an Indefinite Quantity A/E contract,) the
            A/E will be provided with a “Design Kit.” This Design
            Kit will include the following regional information (which
            is not available from the CCB); the current
            SOUTHNAVFACENGCOM Index of Criteria, a set of
            the current SOUTHNAVFACENGCOM interim Regional
            Revisions to the NFGS Guide Specifications, and other
            applicable regional guidance. Paper copies of guide
            specifications included in the CCB will be provided. The
            EIC/AIC may include some of the pertinent Design
            Manuals, Military Handbooks, and other design criteria at
            this time. Ensure that a current DESIGN KIT is on hand
            before starting each project, if not, request one from the
            EIC/AIC.

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Def.’s App. at 53-54. Section 3.1.3 entitled “Specifications” described the
preparation of the project specifications, and reiterated that the A/E contractor must
use the guide specifications listed in the current SOUTHNAVFACENGCON Index
of Criteria:

             The project specifications shall be prepared utilizing the
             “SPECSINTACT” system of the “Construction Criteria
             Base” (CCB). Note the emphasis on the requirement to
             use the “SPECSINTACT” system, merely subscribing to
             CCB and then developing specifications by any other
             method, other than “SPECSINTACT,” will not be
             acceptable. The A/E shall use the Guide Specifications
             listed in the current “SOUTHNAVFACENGCOM Index of
             Criteria” for each project. Most of these Guides are
             included in the “NAVY” Master, or the “SOUTHDIV”
             Master, of the “SPECSINTACT” System. Additionally,
             the A/E shall incorporate all applicable
             SOUTHNAVFACENGCOM interim Regional Revisions,
             and any other pertinent specification information that the
             EIC/AIC may provide. Should there be a substantial time
             lapse between the A/E’s receipt of the initial Design Kit
             for a project and the time the A/E actually starts
             preparation of the specifications (more than three
             months), the A/E shall obtain a current
             SOUTHNAVFACENGOM Index of Criteria, and a
             current set of SOUTHNAVFACENGCOM interim
             Regional Revisions before preparing specifications.

Def.’s Facts ¶ 9; Def.’s App. at 54 (emphasis added).

       The SOW required plaintiff to follow the provisions of the Navy’s A-E
Guide. Def.’s Facts ¶ 4; Def.’s App. at 40, 47. In the A-E Guide, Section 2,
entitled “Command Design Policy,” paragraph 2, provided that the A/E contractor
should review the current criteria, including the guide specifications prior to
beginning the design of the project:

             Before beginning the design, the A/E should review
             current criteria, instructions and guide specifications

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             provided by SOUTHNAVFACENGCOM, and make a
             thorough study of conditions at the site and the
             requirements of the project. If, after an analytical review,
             the A/E is of the opinion that a deviation from
             instructions, Navy criteria or building codes would be of
             benefit to the Government, the A/E shall bring the matter
             to the attention of the EIC for a decision. Government
             construction is also required to conform to the nationally
             recognized building codes, which predominate in the local
             area.

Def.’s Facts ¶ 5; Def.’s App. at 76. Section 5, entitled “Responsibilities of the
A/E,” paragraph 3, of the A-E Guide, described the A/E’s quality of work and
obligation to stand behind its work as follows:

             The work of the A/E will be reviewed by
             SOUTHNAVFACENGCOM to the extent necessary to
             establish conformance with the authorized scope and
             applicable Navy design criteria, and to establish a
             reasonable assurance that the work can be completed
             within the funds authorized.
             SOUTHNAVFACENGCOM WILL NOT UNDERTAKE
             A DETAILED TECHNICAL REVIEW OF THE WORK.
             It will be the responsibility of the A/E, acting in a
             professional capacity, to ensure the accuracy,
             completeness and correctness of the cost estimate and all
             engineering concepts and details of the work, including
             the coordination of the various architectural, structural,
             mechanical, electrical, and other subdivisions thereof with
             each other and with the specifications. THE A/E
             ASSUMES FULL RESPONSIBILITY FOR THE
             TECHNICAL ACCURACY AND PROFESSIONAL
             ADEQUACY of all work which he presents over his
             signature. THE A/E SHALL ASSIGN COMPETENT
             ARCHITECTS AND ENGINEERS, EXPERIENCED IN
             THEIR RESPECTIVE DISCIPLINES, TO THE
             VARIOUS PARTS OF THE WORK TO INSURE ALL
             ELEMENTS ARE DESIGNED CORRECTLY AND IN

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             ACCORDANCE WITH THE BEST ARCHITECTURAL
             AND ENGINEERING PRACTICES. ERRORS
             AND/OR DEFICIENCIES IN THE A/E’S
             PERFORMANCE SHALL BE CORRECTED OR
             REVISED BY THE A/E AT NO ADDITIONAL FEE.

Def.’s Facts ¶ 6; Def.’s App. at 82. Section 5, paragraph 4, mandated that the
design work performed by the A/E contractor must be in accordance with current
criteria: “All work shall be in accordance with current
SOUTHNAVFACENGCOM criteria, instructions and guide specifications, and
shall be in accordance with the best architectural and engineering practices.” Def.’s
Facts ¶ 7; Def.’s App. at 83.

       In addition to the A-E Guide, the NAVFAC Unit Masonry guide
specification (NFGS-04200), dated September 30, 1993, was also incorporated by
reference into the contract. Def.’s Facts ¶ 11; Def.’s App. at 199. Section 2.3.5 of
the NFGS-04200 guide specification entitled “Through-Wall Flashing” provided:

             Note D: Require flashing in exterior masonry walls,
             including single-wythe construction, at all obstructions
             such as bond beams, sills, lintels, and concrete tie beams.
             The wall design and detailing must conform to National
             Concrete Masonry Association (NCMA) publications:
             TEK 13A, “Details for Building Dry Concrete Masonry
             Walls; TEK 53, “Design OF Concrete Masonry for Crack
             Control”; and TEK 126, “Flashing Concrete Masonry.”
             Show locations and details on project drawings. This is a
             regional requirement which shall be used, when
             applicable, for SOUTHNAVFACENGCOM projects;
             when appropriate, the requirements may be used for
             projects in other areas.

Def.’s Facts ¶ 12; Def.’s App. at 213, 224 (emphasis added).

      Plaintiff completed the design of the NISE East building, and on September
16, 1994, the Navy awarded construction Contract No. N62467-93-C-1096 to
Pizzagalli for the construction of the NISE East building. Def.’s Facts ¶ 15; Def.’s
App. at 228. Attached to the construction contract was the completed design of Gee

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& Jenson. The design included specification Section 04200 Unit Masonry (09/93),
Section 07600 Flashing and Sheet Metal (09/93), and architectural drawings A62,
A63, A65, A97.6 Def.’s Facts ¶ 15; Def.’s App. at 236-267.

       On September 29, 1995, the Navy modified Gee & Jenson’s design contract
to include Title II Inspection and Surveillance Services at the NISE East building.
Def.’s Facts ¶ 16. The modification’s SOW described Gee & Jenson’s Title II
inspection duties as follows:

             The Architect-Engineer (A-E) Engineer Services (E-S),
             Gee & Jenson EAP Inc., contract #93-R-0911, contractor
             shall provide the services indicated below in connection
             with construction contract listed in paragraph 10
             [N62467-93-C-1096] to assure compliance with
             construction contract plans and specifications. The
             specific requirements of the A-E/E-S representative is to
             inform the Resident Officer in Charge of Construction
             (ROICC) of whether or not the work meets the contract
             requirements. The A-E/E-S representative has no
             authority to direct the construction contractor in any way
             regarding methods or procedures and shall not interfere
             with the contractors method of performance. The ROICC
             will be responsible for and execute signature upon all
             correspondence and specific directives to contractors.

Def.’s Facts ¶ 16; Def.’s App. at 271. Under the supervision of Gee & Jenson, the
construction of the NISE East building was completed in or about May 1997.

       Soon thereafter, in the spring of 1998, the tenants of the NISE East building
complained of water stains on the interior walls of the second floor of the building.
Defendant assessed the damage, and noticed that water leaks were present at several
locations in the building. On June 2, 1998, defendant had a meeting with Gee &

       6
         / Although Gee & Jenson attached a masonry guide specification to its finished design,
the court notes that the attached masonry guide specification is not the one mandated by the
disputed guide specification (NFGS-04200) and this masonry guide specification makes no
reference to the requirement for flashing under the precast sills. Additionally, neither party
actually explains the genesis of this particular masonry guide specification.

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Jenson to discuss the water leaks in the building.

III.   Events After the Alleged Breach of Contract

        To determine the source of the water leaks, the government hired a forensic
architectural firm, Riesberg Lunn, LLC (Riesberg), on June 16, 1998, to conduct a
forensic consultation. On July 7, 1998, Mr. William Riesberg submitted a report of
his forensic findings. Mr. Riesberg found that the exterior walls of the NISE East
building were leaking. He described the damage as “light to moderate,” cautioning,
however, that “if the leaks [were] left unattended, substantial damage will result.”
Def.’s App. at 289. Mr. Riesberg opined that the source of the “water infiltration
was the joint below the precast sill, which extended continuously under the ribbon
windowall system.” Def.’s Facts ¶ 22; Def.’s App. at 290. Mr. Riesberg concluded
that further investigation was needed to determine the cause of the water
infiltration, and to find a solution to the problem.

       On October 15, 1998, the Navy re-hired the Riesberg firm to conduct a
comprehensive study of the water infiltration at the NISE East building. On
November 11, 1998, Mr. Riesberg submitted another report which revealed that the
water damage was “moderate,” but “active damage [was] still occurring.” Def.’s
App. at 301. The report predicted that the damage would become severe over time
if corrective measures were not taken to resolve the situation. Def.’s Facts ¶ 24;
Def.’s App. at 301. The report also indicated that the installation of flashing would
have prevented the water leakage:

             FAILURE TO FLASH UNDER THE PRECAST SILL
             Flashing directs water that has entered a wall assembly to
             the exterior face. The architect failed to indicate flashing
             under the precast sill of the typical windowwall. No
             flashing was installed. The architect indicated only a 1/8"
             slope on top of the precast sill. With such a slight slope,
             water cannot rapidly drain off.
             ....
             In addition, the joints between the ends of adjacent pieces
             of the precast sill are sealed. The sealant with backer rod
             follows the curved nosing and the top of the sill (which
             [is] essentially a flat horizontal plane). Sealant cannot be
             expected to provide the only line of defense, especially on

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              a horizontal joint. While the sealant is generally installed
              correctly, we found places where water is entering the
              wall assembly through the sealant joint.
              Critical to long-term performance of this design is
              flashing under the precast sill. The flashing should extend
              to the inside face of the precast sill and turn up (upstand)
              to form a pan. Had this flashing been installed, none of
              the leakage would have occurred.

Def.’s App. at 310. The report recommended that “[i]n conjunction with other
repairs, remove the windowwall assembly and precast sill. Install through-wall
flashing which extends to the inside face of the precast sill.” Id. at 311.

        In February 1999, based on the findings of Mr. Riesberg’s investigation, the
Navy wrote letters to plaintiff and Pizzagalli informing them of the potential
liability issues associated with the water infiltration problems at the NISE East
building.7 Def.’s Facts ¶¶ 28-29; Def.’s App. at 336-37, 339-40. Within a month,
the Navy held a meeting with Gee & Jenson to discuss the water leaks and the
findings of the Riesberg investigation. Def.’s Facts ¶ 30.

       In response to the Navy’s February 1999 letter and the March 1999 meeting,
plaintiff informed the Navy that it believed that “the design furnished by Gee &
Jenson was performed with the reasonable care, skill and competence normally
exercised by other members of the profession under similar circumstances.” Def.’s
App. at 349. Plaintiff further stated that “the details utilized were those which, in
the opinion of the designer, met the requirements of the particular situation in which
they were utilized and were also cost effective.” Id. Plaintiff concluded that, in its
opinion, “based on the information furnished in the Riesberg report and upon our
knowledge of the construction of the facility, that where water intrusion is a
problem, it is due primarily to the construction not being in compliance with the
project plans and specifications as prepared.” Id. at 350. Plaintiff also concluded
that the application of sealants, as utilized in the NISE East building, was becoming
the industry-wide standard for waterproofing. “Industrywide, standards for
moisture protection and waterproofing are progressing to a level of increased

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        / On April 16, 1999, Pizzagalli informed the Navy that it would schedule the time to
repair deficiencies that it believed were its responsibility. Def.’s Facts ¶ 32; Def.’s App. at 363-
65.

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dependency upon sealants which are proving to be very cost effective.” Id. at 349.

       Pursuant to Navy procedures, as set forth in
SOUTHNAVFACENGCOMINST 4335.2C, the Navy appointed an A/E liability
specialist, Mr. Virgil G. Svendsen, to determine what grounds existed, if any, to
pursue plaintiff for “negligent design resulting in inferior construction under
construction contract N62467-93-C-0911.” Def.’s Facts ¶ 33. Mr. Svendsen
reviewed the Riesberg report and recommended that the Navy pursue Gee & Jenson
for liability, specifically for plaintiff’s failure to install flashing in the building.8
Def.’s Facts ¶ 34; Def.’s App. at 382. On October 28, 1999, the Navy’s A/E
Responsibility Board (Board) upheld Mr. Svendsen’s recommendation, and advised
the Navy to recover the necessary costs from plaintiff.

       Based on the Board’s advice, the Navy wrote a letter to Gee & Jenson, dated
November 24, 1999, claiming that plaintiff’s failure to “provide an effective
deterrent against water penetration and failure to provide means to direct
penetrating water to the exterior constitutes design negligence.” Def.’s App. at 399.
The Navy informed Gee & Jenson that it was financially liable for damages to the
government in the amount of $762,611. Id. at 399-401.

       Gee & Jenson sent a letter to the defendant, dated January 7, 2000, informing
the Navy that plaintiff intended to hire an independent expert to evaluate its design
and provide an opinion on whether plaintiff was negligent in its design. Plaintiff’s
expert submitted a report, concluding that although “[b]est practice would certainly
indicate a through wall flashing under the sill,” plaintiff’s design met the applicable
standard of care “for detailing at the time and place.” Def.’s App. at 411-12.

       On June 29, 2000, the Navy sent a demand letter to plaintiff and Pizzagalli,
stating that both contractors were jointly and severally liable for water infiltration
problems at the NISE East building. The Navy warned the contractors that if they
could not work together to resolve the problem in an acceptable manner, the
government would find other means to pursue damages against both contractors.

      Plaintiff responded to the Navy’s demand letter on March 7, 2001, stating

       8
       / The report indicated that Gee & Jenson had used through-wall flashing in other
SOUTHDIV projects. These projects were also designed by Tim Hullihan, the same designer for
the NISE East building. Def.’s App. at 382.

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that the government’s allegations against Gee & Jenson had no valid basis:

             The basis of our resistance to respond to the allegations is
             the fact that there have been virtually no discernable leaks
             or signs of water intrusion in the building since the
             original leaks, which occurred primarily during the
             original construction process. You are asking us to write
             a check for over $700,000 to correct a problem that has
             not been demonstrated to exist during a period of over 2½
             years. It is based on opinions concerning a designer’s
             choice as to where to use flashing, the appropriate use of
             sealants, and the use of a drip edge which had not been
             standard practice at that time. As we have stated on a
             number of p[re]vious occasions, we do not feel that our
             design in either case was negligent . . . .

Def.’s App. at 439. Gee & Jenson concluded the letter by proposing mediation
between the two parties. Id. Mediation followed, and the parties unsuccessfully
attempted to resolve the liability issue. Subsequently, the Navy hired the Riesberg
firm, on September 25, 2002, to conduct design services at the NISE East building
that would facilitate the repairs that Mr. Riesberg had recommended in his earlier
report.9

       On April 7, 2004, the Navy issued Contracting Officer’s Final Decision 04-S-
03 to Gee & Jenson finding plaintiff liable to the government in the amount of
$138,083. The Navy itemized its claimed fees as follows: “the recommended fix to
the precast sill is $70,000.00 and the Forensic Engineering Consultation Study and
Services and associated administrative costs are $68,083.00.” Def.’s App. at 448.
The final decision also stated that plaintiff could complete the repair work or the
Navy would complete the repair work and charge the repair costs to plaintiff. Id.

        The Navy waited for plaintiff to respond regarding the contracting officer’s
final decision and the repair work for the NISE East building. Defendant made
several attempts to contact Gee & Jenson and its counsel regarding the repair work


       9
       / The Navy awarded Contract No. N62467-96-D-0819/Delivery Order 0004 to the
Riesberg firm to conduct design services at the NISE East building.

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to be performed on the NISE East building, however, plaintiff failed to respond. On
August 25, 2004, the Navy wrote a letter to plaintiff’s counsel, expressing
defendant’s desire to begin repairs on the building. Therein, the Navy stated that if
plaintiff did not respond within two weeks, the government would make the repairs
and pursue costs from plaintiff. Finally, on March 14, 2005, defendant hired a
construction contractor, Hitt Contracting, Inc. (Hitt), to install the remedial design.10
On April 8, 2005, plaintiff filed suit in this court, alleging that the Navy
“wrongfully, improperly, and without cause made a claim for damages against Gee
& Jenson.” Compl. ¶ 10.


                                    DISCUSSION

I.     Jurisdiction

       The Tucker Act provides the court with jurisdiction to entertain contract
claims brought under the Contract Disputes Act of 1978, 41 U.S.C. §§ 601-613
(2000) (CDA). See 28 U.S.C. § 1491(a)(2) (2000). For the court to have
jurisdiction over this particular suit, however, the government, as a prerequisite,
must have presented a written claim to the contracting officer. See 41 U.S.C. §
605(a); Placeway Constr. Corp. v. United States, 920 F.2d 903, 906 (Fed. Cir.
1990); Morse Diesel Intern., Inc. v. United States, 74 Fed. Cl. 601, 636 (2007).
Section 605(a), in pertinent part, provides:

             All claims by the government against a contractor relating
             to a contract shall be the subject of a decision by the
             contracting officer. Each claim by a contractor against the
             government relating to a contract and each claim by the
             government against a contractor relating to a contract
             shall be submitted within 6 years after the accrual of the
             claim. The preceding sentence does not apply to a claim
             by the government against a contractor that is based on a
             claim by the contractor involving fraud. The contracting
             officer shall issue his decisions in writing, and shall mail


       10
          / The Navy awarded Contract No. N62467-01-D-8306/Delivery Order 0035 to Hitt
 Contracting, Inc., for installation of the remedial design.

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             or otherwise furnish a copy of the decision to the
             contractor. The decision shall state the reasons for the
             decision reached, and shall inform the contractor of his
             rights as provided in this chapter.

41 U.S.C. § 605(a). Thus, under the provisions of the CDA, the government must
submit its claim to the contracting officer within six years after the accrual of the
claim. Id. The contracting officer is then required to issue a decision, in writing,
and then mail or furnish a copy of the decision to the contractor. Id. The contractor
has twelve months from the date of the receipt of the contracting officer’s decision
to file suit in this court. 41 U.S.C. § 609(a)(3).

       Here, the parties agree that the Navy issued the contracting officer’s final
decision to plaintiff on April 7, 2004, demanding payment of $138,083 for the
“recommended fix to the precast sill, the forensic engineering consultation study
and services and associated administrative costs, plus interest.” Def.’s Facts ¶ 51.
Within one year of the date of receipt of the decision, in accordance with
§ 609(a)(3), plaintiff filed suit in this court on April 8, 2005. Accordingly,
jurisdiction has been satisfied, and the court has the power to hear this case.


II.   Standard of Review

       The moving party is entitled to summary judgment “if the pleadings,
depositions, answers to interrogatories, and admissions on file, together with the
affidavits, if any, show that there is no genuine issue as to any material fact and that
the moving party is entitled to a judgment as a matter of law.” RCFC 56(c). Cross-
motions for summary judgment are not an admission that no material facts remain at
issue. See Massey v. Del Labs., Inc., 118 F.3d 1568, 1573 (Fed. Cir. 1997) (citing
United States v. Fred A. Arnold, Inc., 573 F.2d 605, 606 (9th Cir. 1978)). Separate
summary judgment motions may focus on different legal principles and allege as
undisputed a different set of facts. Id. “Each party carries the burden on its own
motion to show entitlement to judgment as a matter of law after demonstrating the
absence of any genuine disputes over material facts.” Id.

       “[A] party seeking summary judgment always bears the initial responsibility
of informing the district court of the basis for its motion, and identifying those
portions of ‘the pleadings, depositions, answers to interrogatories, and admissions

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on file, together with the affidavits, if any,’ which it believes demonstrate the
absence of a genuine issue of material fact.” Celotex Corp. v. Catrett, 477 U.S.
317, 323 (1986) (quoting Fed. R. Civ. P. 56(c)). A genuine issue of material fact is
one that could change the outcome of the litigation. Anderson v. Liberty Lobby,
Inc., 477 U.S. 242, 247-48 (1986). In the capacity of opposing a summary
judgment motion, the non-movant has the burden of providing sufficient evidence
to show that a genuine issue of material fact indeed exists. Celotex, 477 U.S. at
322. “Rule 56(c) mandates the entry of summary judgment, after adequate time for
discovery and upon motion, against a party who fails to make a showing sufficient
to establish the existence of an element essential to that party’s case, and on which
that party will bear the burden of proof at trial.” Id. Any evidence presented by the
non-movant is to be believed and all justifiable inferences are to be drawn in its
favor. Anderson, 477 U.S. at 255 (citing Adickes v. S.H. Kress & Co., 398 U.S.
144, 158-59 (1970)).

III.   Whether Flashing Was a Contract Requirement

       Gee & Jenson argues that flashing was not a contract requirement. Plaintiff
argues that neither the building code nor the guide specifications required flashing.
Gee & Jenson contends that it is not even clear that the guide specifications were
part of the contract since the contract, in plaintiff’s opinion, was ambiguous.
Defendant, in response, argues that flashing was a contract requirement and that
Gee & Jenson misinterpreted the contract. Defendant asserts that the contract
provisions were explicit in detailing Gee & Jenson’s obligations, including the
requirement of flashing in its design.

       The issue of whether Gee & Jenson had a contractual obligation to include
flashing as a design requirement in the NISE East building design is a question of
law, which is appropriately decided on a motion for summary judgment. Varilease
Tech. Group, Inc. v. United States, 289 F.3d 795, 798 (Fed. Cir. 2002) (“Contract
interpretation is a question of law generally amenable to summary judgment.”);
Conner Bros. Constr. Co. v. United States, 65 Fed. Cl. 657, 667 (2005) (“Issues of
contract interpretation, . . . raise questions of law that are uniquely appropriate for
summary judgment.” (citations omitted)). Interpretation of a contract’s term,
including contract specifications, is a matter to be resolved by the court. Conner
Brothers, 65 Fed. Cl. at 667 (citing P.J. Maffei Bldg. Wrecking Corp. v. United
States, 732 F.2d 913, 916 (Fed. Cir. 1984)).


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       Contract interpretation begins with the plain language of the contract. Gould,
Inc. v. United States, 935 F.2d 1271, 1274 (Fed. Cir. 1991) (citation omitted). In
interpreting the language of a contract, its terms must be accorded their plain and
ordinary meaning. Harris v. Dep’t of Veterans Affairs, 142 F.3d 1463, 1467 (Fed.
Cir. 1998). If the language of the contract is unambiguous, the court must accept its
plain meaning. Triax Pacific, Inc. v. West, 130 F.3d 1469, 1473 (Fed. Cir. 1997).
A contract term is unambiguous when there is only one reasonable interpretation.
Bristol-Myers Squibb Co. v. United States, 48 Fed. Cl. 350, 355 (2000) (citations
omitted). When the contract language is unambiguous, the court’s inquiry is at an
end, and the plain language of the contract is controlling. Id. The mere fact that the
parties may disagree with regard to the interpretation of a specific provision does
not, in and of itself, render that provision ambiguous. See Cmty. Heating &
Plumbing Co. v. Kelso, 987 F.2d 1575, 1579 (Fed. Cir. 1993); Brunswick Corp. v.
United States, 951 F.2d 334, 337 (Fed. Cir. 1991) (citation omitted). In the present
case, Gee & Jenson’s contract interpretation, based on plaintiff’s reading of the
contract specifications is unreasonable. The contract was unambiguous, and the
plain language of the contract, as shown below, explicitly states that plaintiff was
required to include flashing in the design.

      A.     Whether Flashing Was Required by the Guide Specifications

       Gee & Jenson argues that the contract did not specify that plaintiff was
required to design the NISE East building in accordance with the guide
specifications. Gee & Jenson argues that plaintiff “understood the Guide
Specifications were provided to assist the A&E with preparation of the construction
specifications for the contractor, but did not impose specific design requirements.”
Pl.’s Reply at 7. Mr. Hullihan, Gee & Jenson’s architect, stated in his affidavit that:

             The Government provided Gee & Jenson with design
             guide manuals, but these are very different from the guide
             specifications. The design guide manuals were used
             during the design, but the guide specifications were used
             in support of the design, and not as a basis for the design.
             My understanding was that the guide specifications were
             to be used in the development of the construction
             specifications to be used by the contractor during
             construction.


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Pl.’s App. at 47-48 (Hullihan’s Aff. ¶¶ 4-5).11

        Plaintiff argues that even if the court finds that Gee & Jenson was required to
follow the guide specifications, the guide specifications did not mandate flashing to
be included in the design. Pl.’s Reply at 8. Plaintiff contends that the guide
specifications refer to a technical publication, TEK 126, entitled “Flashing Concrete
Masonry,” which provides information on how to install flashing in concrete
masonry construction, “but it does not include any specific requirements for sill
flashing in a design similar to the one in this case.” Id. Plaintiff argues that TEK
126 is significant in this case because it “specifically advises that flashing should
not be penetrated by shelf ‘angle bolt-nut-anchorages’ or masonry anchors– the
exact situation Mr. Hullihan described as making flashing impractical.” Pl.’s Reply
at 9.12 Plaintiff also asserts that TEK 126, referenced in the guide specification,
states that the A/E has discretion to design flashing “as necessary.” Id. at 8. Gee &
Jenson contends that it complied with the guide specifications as directed in the A-E
Guide, which allowed plaintiff to “EDIT AND MODIFY THEM TO SUIT THE
PROJECT REQUIREMENTS.” Id. at 9. Gee & Jenson concludes that plaintiff is
entitled to summary judgment because “it is ambiguous as to whether the guide
specifications were a part of the contract or the guide specifications themselves are
ambiguous as to whether flashing is actually required.” Pl.’s Reply at 10.

       In opposition, the government argues that Gee & Jenson is mistaken in
alleging that the guide specifications were not part of the contract. Defendant
asserts that the contract was explicit in requiring that Gee & Jenson design the NISE
East building in accordance with the guide specifications provided by the Navy and
that plaintiff’s failure to follow the government’s instructions in designing the
building resulted in a breach of contract. “The contract clearly required Gee &
Jenson to use NAVFAC guide specifications, and the language of the particular
Guide Specification for flashing in exterior walls was explicit that the inclusion of

       11
        / “Pl.’s App.” refers to the appendix which was filed concurrently with plaintiff’s
motion for summary judgment.
       12
          / Gee & Jenson’s architect, Tim Hullihan, in his deposition dated September 27, 2007,
testified that it is “impractical” to install flashing when “[t]he existence of the flashing does
nothing because the flashing itself is penetrated by something so many times that it doesn’t do
anything for you. You put the flashing in and you put a spike through it and you made a big hole
in the flashing. What’s the point of putting the flashing in? That appears to be the case in this
detail.” Pl.’s App. at 27.

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flashing was ‘mandatory.’” Id. at 8. The court agrees with defendant that the
contract was explicit in its instructions that Gee & Jenson was required to design
the building in accordance with the guide specifications. The guide specifications
were incorporated in the contract by reference and the guide specifications were
clear in requiring Gee & Jenson to design flashing underneath the precast sills.

        A step by step analysis of the contract’s provisions reflects that plaintiff was
required to utilize the Navy’s guide specifications and that the referenced guide
specifications mandated the utilization of flashing in plaintiff’s design. First,
Section 3 of the contract’s SOW requires the A/E to follow the Navy’s guide
specifications. Section 3.1 of the contract’s SOW states in clear terms that the A/E
“shall design the project and prepare the project specifications in accordance with
criteria and guide specifications listed in the current ‘SOUTHNAVFACENGCOM
Index of Criteria . . . .’” Def.’s App. at 53. Section 3.1 further states that the
“Index of Criteria” consists of “Guide Specifications, NAVFAC Design Manuals,
Military handbooks, and other types of criteria documents.” Id.

       Section 3.1.1 of the contract’s SOW provides that the A/E contractor is
responsible for obtaining all guide specifications: “A/E is responsible for obtaining
all necessary NFGS Guide Specifications listed in the
‘SOUTHNAVFACENGCOM Index of Criteria’ at his expense . . . .” Id. Finally,
in this portion of the SOW, Section 3.1.3 reiterates that the A/E is required to
follow the Navy’s guide specifications. Id. at 54.

       Section 3 of the SOW is not the only SOW provision which directs the A/E
to use the Navy’s guide specifications. The A-E Guide is also relevant in that
regard. The SOW requires the A/E to follow the A-E Guide in its design of the
project. Section 2 of the SOW provides that Gee & Jenson “shall conform to the
requirements of SOUTHNAVFACENGCOM P-141 (A-E Guide) . . . .” Def.’s
App. at 40. In addition, Section 2.2 of the SOW states that the A/E must design the
project in “accordance with the A/E Guide.” Id. at 47.

       With Section 2 of the SOW requiring the A/E to follow the A-E Guide, we
turn to the provisions of the A-E Guide itself. Section 5 of the A-E Guide provides
that the A/E must design the building in accordance with the Navy’s guide
specifications. Section 5, entitled “Responsibilities of the A/E,” paragraph 4, reads,
in relevant part, that “All work shall be in accordance with current
SOUTHNAVFACENGCOM criteria, instructions and guide specifications, and

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shall be in accordance with the best architectural and engineering practices.” Def.’s
App. at 83. Section 2 of the A-E Guide, entitled “Command Design Policy,” in
paragraph 2 directs that if the A/E wishes to deviate in anyway from the Navy’s
guide specifications, it must first get the approval of the Navy’s EIC (Engineer in
Charge). Id. at 76. Paragraph 2 of that section states specifically that “[i]f, after an
analytical review, the A/E is of the opinion that a deviation from instructions, Navy
criteria or building codes would be a benefit to the Government, the A/E shall bring
the matter to the attention of the EIC for a decision.” Id. (emphasis added). Finally,
Section 18, entitled “Specifications Preparation,” paragraph 1.2.1, also requires
plaintiff to use the guide specifications to design the project: “The A/E shall utilize
the Guides listed in the current SOUTHNAVFACENGCOM Index of Criteria. . . .
It is the A/E’s responsibility to ensure that he obtains and includes all the Regional
requirements . . . .” Def.’s App. at 149 (emphasis added). Because the contract is
clear that the A/E is required to follow the provisions of the guide specifications,
the next query is whether any of the guide specifications require that flashing be
included in the A/E’s design.

       The pertinent guide specifications, incorporated in the contract by reference,
are found in the NAVFAC Unit Masonry guide specification (NFGS-04200).
Def.’s App. at 199-225. Section 2.3.5 of NFGS-04200 entitled “Through-Wall
Flashing,” explicitly states the requirement for flashing as follows:

             Note D: Require flashing in exterior masonry walls,
             including single-wythe construction, at all obstructions
             such as bond beams, sills, lintels, and concrete tie beams.
             The wall design and detailing must conform to National
             Concrete Masonry Association (NCMA) publications:
             TEK 13A, Details for Building Dry Concrete Masonry
             Wall”; TEK 53, “Design of Concrete Masonry for Crack
             Control”; and TEK 126, “Flashing Concrete Masonry.”
             Show locations and details on project drawings. This is a
             regional requirement which shall be used, when
             applicable, for SOUTHNAVFACENGCOM projects;
             when appropriate, the requirements may be used for
             projects in other areas.

Def.’s App. at 213, 224 (emphasis added). Focusing on the guide specification
found in NFGS-04200, the court is unpersuaded by plaintiff’s argument that the

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guide specifications did not require flashing in the design. That guide specification
clearly spells out in very plain language that flashing is required at all obstructions
in the exterior masonry walls, including precast sills.

       Despite the clear instructions found in the guide specifications, plaintiff
argues that a technical publication referenced in the NFGS-04200, TEK 126, gives
the A/E contractor discretion as to whether to install flashing in the building design.
Pl.’s Reply at 8. Because the A/E contractor has such discretion, Gee & Jenson
argues, plaintiff had the option to determine whether flashing was “necessary” in
this project.

        Plaintiff’s argument in this regard is unsound. The government points out
that TEK 126 addresses flashing in concrete masonry wall units as opposed to the
other parts of the composite wall system designed by plaintiff, such as stucco,
precast concrete panels, or precast concrete sills. Def.’s Reply at 7. In that regard,
plaintiff, itself, has acknowledged that TEK 126 is not applicable to the specific sill
flashing scenario at issue here, stating: “The section on ‘Sills’ appears to address
window installation as opposed to the situation in this case. TEK 126 does not
include details such as at issue in this case with windows sitting on a precast sill
that sits on top of a brick veneer and metal stud wall.” Pl.’s Reply at 9 n.3.

       In addition to this impediment to the application of TEK 126 in this case, the
court observes that contrary to plaintiff’s contention, Gee & Jenson was not vested
with unfettered discretion regarding the utilization of the Navy’s guide
specifications in its design plans. In addition to the clear instruction to the A/E
from the guide specifications to utilize flashing, as previously outlined above, the
A/E was specifically directed to seek authorization from the
SOUTHNAVFACENGCOM’s EIC for any deviation from “current criteria,
instructions, and guide specifications.” Def.’s App. at 76-77. Thus, before Gee &
Jenson could forego compliance with the Navy’s guide specifications, it was
required to seek specific permission in that regard from
SOUTHNAVFACENGCOM’s EIC, which plaintiff did not do. In view of the
contract’s requirement regarding the utilization of the guide specifications and the
corollary requirement to seek authorization to deviate therefrom, TEK 126 could
not excuse plaintiff from such compliance even if it had been applicable.

       Plaintiff’s next challenge with respect to the disputed guide specifications is
its assertion that the government failed to provide any documents which show that

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guide specification, NFGS-04200, Unit Masonry, was listed on the then current
Index of Criteria. Pl.’s Reply at 7. In response, the Navy states that after a
command-wide reorganization, which took place subsequent to the completion of
this contract, SOUTHNAVFACENGCOM ceased to exist and, presumably due to
the ensuing upheaval, defendant has been unable to locate its copy of the 1994
Index of Criteria. Defendant further states that it attempted, but was unsuccessful in
securing a copy of the 1994 Index of Criteria from plaintiff pursuant to a discovery
request. The government, however, asserts that “[t]he fact that Gee & Jenson
included § 04200, Unit Masonry, in the project specifications is the best evidence
that the guide Specifications were in the Index of Criteria.” Def.’s Reply at 6
(footnote omitted); Def.’s App. at 236-67. Defendant has also included in its
appendix a copy of the Index of Criteria for the year 2001, Def.’s App. at 532-45,
and a copy of the Navy’s Index of Guide Specifications, dated December 20, 1993,
Def.’s App. at 546-61, and asserts that these two indices, which both include the
disputed guide specification NFGS-04200, Unit Masonry, are reflective of the
criteria listed in the 1993-94 version of the Index of Criteria.

        The court sees no basis upon which to question the government’s
representations in this regard, and overall the court views Gee & Jenson’s argument
to be unpersuasive. In the first instance, the A-E Guide which, as previously
discussed, required plaintiff’s design work to be in conformance with the applicable
guide specifications, also stated that it was the A/E’s responsibility to obtain those
guide specifications, set forth in the Index of Criteria, from the Navy. Def.’s App.
at 53. Accordingly, Gee & Jenson was required to have secured a copy of the guide
specification, NFGS-04200, Unit Masonry, listed in the Index of Criteria, from the
Navy at the outset. In that regard, it is entirely reasonable for this court to conclude
that plaintiff was, in fact, in possession of guide specification NFGS-04200, Unit
Masonry, since: (1) plaintiff was required to have obtained the Index of Criteria,
which set forth the disputed guide specification; (2) the Index of Criteria would
have been provided to plaintiff in the design kit upon contract award pursuant to
Section 3.1.2 of the SOW; and (3) plaintiff has never asserted that the Navy failed
to provide it with the referenced design kit. Based upon the foregoing
circumstances, the court has determined that the SOUTHNAVFACENGCOM
Index of Criteria included guide specification NFGS-04200, Unit Masonry.


      Finally, plaintiff argues that the contract language was ambiguous, and that
the contract should be interpreted against the government. Pl.’s Reply at 9.

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Whether a contract provision is ambiguous is a question of law. See Community
Heating, 987 F.2d at 1579. In order for a contract to be found ambiguous, it must
be “susceptible of two different and reasonable interpretations, each of which is
found to be consistent with the contract language.” Id. (citations omitted). Both
interpretations, given by the respective parties, must fall within the “zone of
reasonableness” to demonstrate ambiguity. NVT Techs., Inc. v. United States, 370
F.3d 1153, 1159 (Fed. Cir. 2004).

       In the present case, there is no ambiguity. Gee & Jenson and the Navy do not
both present reasonable interpretations of a contract term which would result in the
creation of an ambiguity. The contract provisions, as previously discussed in detail
supra, clearly reflected that the A/E was required to include flashing in its design
and thus, there were no contract terms which were reasonably susceptible to two
different interpretations under the contract. Accordingly, the court finds that the
contract was unambiguous, and that Gee & Jenson’s contract interpretation was
unreasonable.13


      B.      Whether Flashing Was Required by the Building Code


       Plaintiff argues that it was required to construct the NISE East building
according to the Standard Building Code of 1991 and that there was no requirement
in the contract that required Gee & Jenson to “exceed the requirements of the
building code.” Pl.’s Mot. at 5. Plaintiff, in essence, argues that Gee & Jenson did
not have to follow the guide specifications because it had complied with the
building code. The building code, in pertinent part, provides:


              Flashing shall be provided as necessary to prevent the
              entrance of water at openings in or projections through
              veneered walls. Flashing shall be provided at


       13
         / Because there is no ambiguity, the court does not need to determine whether there is a
patent or latent ambiguity. However, even if the court were to assume the presence of an
ambiguity, such an ambiguity would have been patent, thus providing that Gee & Jenson would
have had a duty to seek clarification of the contract language from the government prior to
designing the building. See Grumman Data Sys. Corp. v. Dalton, 88 F.3d 990, 997 (Fed. Cir.
1996).

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             intersections of veneered walls of different materials
             unless such materials provide a self flashing joint and at
             other points subject to the entrance of water. Caulking
             shall be provided where such flashing is determined by
             the Building Official to be impractical.


Def.’s App. at 507 (1991 Standard Building Code, § 811.1.4).


       Plaintiff argues that the building code does not require flashing but rather
provides the architect with discretion to determine whether flashing is necessary:
“Flashing shall be provided as necessary to prevent the entrance of water at
openings in or projections through veneered walls.” Id. Plaintiff also argues that
the building code does not require the use of flashing when it is impractical to do
so: “Caulking shall be provided where such flashing is determined by the building
official to be impractical.” Id. Plaintiff asserts that Gee & Jenson’s chief architect,
Tim Hullihan, determined that flashing in this case was not necessary because
“metal flashing underneath the sills would not have been practical because of all the
holes drilled in the metal flashing for the bolts to hold the concrete sill down.” Pl.’s
Mot. at 5-6. In his deposition, Mr. Hullihan testified that “holes would have had to
have been cut into the flashing to allow for the bolts holding down the sill and water
would be able to pass through the flashing everywhere one of the holes existed.”
Pl.’s Reply at 5. Based on his observations, Mr. Hullihan determined that caulking
was the best alternative, and that the Navy, as the “Building Official,” had approved
the design. Id. Thus, plaintiff asserts that since the building code provided the
architect with discretion to determine whether flashing was necessary, and since the
government had approved plaintiff’s design without flashing, Gee & Jenson did not
breach the contract.


       Although the government concedes that the building had to be designed in
accordance with the building code, defendant asserts that the building code criterion
“was not the only one governing the development of project specifications.” Def.’s
Reply at 2. Defendant asserts that the building had to be constructed in accordance
with other criteria identified by the Navy, including the guide specifications and
other referenced sources for criteria such as military handbooks, design manuals,
and NAVFAC publications. Defendant asserts that these criteria referenced in the
contract required the use of flashing. In addition, defendant contends that Gee &

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Jenson’s argument that it complied with the building code to design the project is
unavailing. Defendant argues that if Gee & Jenson had interpreted the building
code correctly, plaintiff would have discovered that flashing was a mandatory
requirement under the building code:


             Gee & Jenson contends that the first sentence of the
             provision grants the architect discretion to install flashing.
             A careful reading of this sentence with those that follow
             reveals that the words Gee & Jenson relied upon are
             generic, introductory language only. The second sentence
             clearly mandates flashing at “intersections of veneered
             walls of different materials unless such materials provide
             a self flashing joint.” The concrete precast sill is a
             different material than the brick masonry of the building
             face and the joints between the adjacent precast sill
             members are not self-flashing. Therefore, the second
             sentence of the code unequivocally required Gee &
             Jenson to provide flashing under the precast sill. Rather
             than addressing this straightforward requirement, Gee &
             Jenson skips to the third sentence, contending that it
             would have been impractical to install flashing underneath
             the precast sills.


Def.’s Mot. at 20 (citations omitted) (emphasis added).


       Defendant also argues that the building code did not give the architect the
discretion to determine when it is was “impractical” to install flashing in a building.
Defendant contends that Gee & Jenson also misinterpreted this part of the code:
“[T]he code vests the responsibility for the impracticality determination with the
building official, not with the architect.” Id. at 4. In this case, defendant asserts
that Gee & Jenson has provided no evidence which demonstrates that the Navy’s
building official made a determination that flashing was impractical and any
contention by plaintiff that the Navy’s overall acceptance of the project was the
equivalent of such determination is unpersuasive. See discussion infra. In fact,
defendant states that Gee & Jenson’s chief architect, Mr. Hullihan, supports
defendant’s contention that the building code does not give the architect discretion

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to determine the impracticality of flashing in this building:


              Q. Does this code give the architect the option to decide
              whether or not to use flashing or sealants?
              A. I don’t think it gives the architect the option. I think it
              gives the architect the option to discuss it with the
              building official and if they agree that it’s impractical then
              you’re preceding under the code.


Def.’s App. at 531 (Deposition of Timothy Hullihan). Based on the foregoing,
defendant concludes that the building code required the use of flashing in the
building design and that Gee & Jenson’s decision to omit flashing in the building
design deviated from the contract requirements without the Navy’s approval.


       Upon consideration of both sides’ arguments, the court is constrained to
disagree with the government’s contention that the building code clearly requires
flashing under the precast sill. The pertinent building code provision states that
flashing must be provided “at intersections of veneered walls of different material.”
Def.’s App. at 507. There is no dispute over the fact that the NISE East building
was designed with composite walls which defendant, citing to the Means Illustrated
Construction Dictionary 143 (3d ed. (Unabridged) 2000), defines as “a wall
composed of multiple vertical layers of masonry, each one unit thick, in which one
layer is different from others in type or grade of stone/brick or mortar used.” Def.’s
Reply at 3 n.2.14 Thus, it appears that the walls of the NISE East building were
uniform, that is, they were masonry composite walls, which would mean that they
were not constructed of “different materials” as required by the terms of the
building code in order to warrant flashing. The government’s stark assertion that
“[t]he concrete precast sill is a different material than the brick masonry of the
building face and . . . [t]herefore the second sentence of the code unequivocally
required Gee & Jenson to provide flashing under the precast sill,” Def.’s Mot. at 20
(citation omitted), is not explained by defendant and appears to be unsupported by

       14
         / Similarly, the Dictionary of Architecture and Construction 239 (4th ed. 2006), defines
a composite wall as “[a] wall built of a combination of two or more masonry units of different
types of materials that are bonded together, one forming the facing of the wall and the other the
backup.”

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the plain terms of the controlling code provision. A concrete precast sill, by
definition, is not a wall and therefore defendant’s argument must fail for the
apparent reason that the presence of precast sills in the walls does not establish an
“intersection of veneered walls of different materials.”15


       Although the court agrees with plaintiff’s contention that the building code
did not require the A/E to provide flashing under the precast sills, that fact alone
cannot serve to win the day for plaintiff. This is so because the building code sets
forth only the minimum requirements acceptable within the industry and a
contractor is required to comply with the contract, and guide specifications
incorporated in the contract. In that regard, the government is allowed to enter
contracts that mandate more stringent requirements than that generally accepted in
the industry. See Jowett, Inc. v. United States, 234 F.3d 1365, 1369 (Fed. Cir.
2000) (“It is well-established that the government can vary from the norm in the
trade when contracting for goods and services.” (citations omitted)); Interwest
Constr. v. Brown, 29 F.3d 611, 615 (Fed. Cir. 1994) (“‘the government may require
performance both in excess of, or below, the standard normally accepted in a
trade’”) (quoting Ralph Larsen & Son, Inc. v. United States, 17 Cl. Ct. 39, 46
(1989))); see also Blake Constr. Co. v. United States, 28 Fed. Cl. 672, 688 (1993)
(stating that “the government may require material specifications more or less
stringent than the standards normally accepted in a trade or industry at the time”),
aff’d, 29 F.3d 645 (Fed. Cir. 1994). In addition, the government is allowed to insist
that a contractor comply with its contract specifications. See Blake Construction,
28 Fed. Cl. at 688 (stating that “the government has the right to insist on
compliance with the contract specifications”); Am. Elec. Contracting Corp. v.
United States, 217 Ct. Cl. 338, 350 (1978) (“It is settled that the Government is
entitled to obtain precisely what it contracts for as long as it does not mislead the
contractor.”).


       In the instant case, the contract’s language is clear and unambiguous that
flashing was required to be designed underneath the precast sills of the windows.


       15
         / The Means Illustrated Construction Dictionary 586 ( 3d ed. (Unabridged) 2000),
defines sill as: “(1) The horizontal member of the bottom of a window or exterior door frame[;]
(2) As applied to general construction, the lowest member of the frame of the structure, resting
on the foundation and supporting the frame.”

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These are the specifications that the government contracted for, and these are the
specifications that Gee & Jenson was required to provide under the contract. Gee &
Jenson did not have the option to divert from the requirements of the contract
without the government’s approval, and then claim that it was required only to
comply with the building code. As previously discussed, the building code
provided a minimum requirement, but the code takes no precedence over the
contract, nor any guide specifications incorporated into the contract. Cf. S.S.
Silberblatt, Inc. v. United States, 433 F.2d 1314, 1323 (Ct. Cl. 1970) (noting that
“trade practice in the building industry cannot override an unambiguous contract
provision”). Accordingly, plaintiff was required to exceed the requirements of the
building code, and comply with the contract and its guide specifications.


      C.    The Government’s Approval of the Design Does Not Waive Gee &
            Jenson’s Liability


      Gee & Jenson argues that because the government approved the building
design without flashing, it is excused from liability. Defendant responds that
contract clause FAR 52.236-23, incorporated into the contract, provides that the
government’s approval of the overall design does not waive plaintiff’s liability
under the contract. FAR 52.236-23, in relevant part provides:


            (a) The Contractor shall be responsible for the
            professional quality, technical accuracy, and the
            coordination of all designs, drawings, specifications, and
            other services furnished by the Contractor under the
            contract. The Contractor shall, without additional
            compensation, correct or revise any errors or deficiencies
            in its design, drawings, specifications, and other services.
            (b) Neither the Government’s review, approval, or
            acceptance of, nor payment for, the services required
            under this contract shall be construed to operate as a
            waiver of any rights under this contract or any other
            cause of action arising out of the performance of this
            contract, and the Contractor shall be and remain liable to
            the Government in accordance with applicable law for all
            damages to the Government caused by the Contractor’s
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             negligent performance of any of the services furnished
             under this contract.


Def.’s App. at 21 (emphasis added). In the court’s view, the contract’s language is
explicit on the issue of liability, and Gee & Jenson remains liable under the contract
terms regardless of the government’s acceptance of the design. Consequently, Gee
& Jenson may not avoid responsibility for plaintiff’s failure to install flashing in the
building by reliance upon the government’s overall approval of the project.


       In addition to the language of FAR 52.236-23, a provision of the mandatory
terms of the A-E Guide contravenes plaintiff’s contention that the Navy’s general
approval of the project served to sanction plaintiff’s failure to install flashing in its
design. The A-E Guide’s requirement that any deviation from “instructions, Navy
criteria or building codes” by the A/E required approval by
SOUTHNAVFACENGCOM’S EIC very clearly and directly contradicts plaintiff’s
position by imposing a stringent requirement which plaintiff failed to meet. Def.’s
App. at 76. In order for plaintiff to jettison the flashing requirement, it had to first,
actually request permission from the EIC to cancel the flashing requirement and
second, obtain specific approval from the Navy’s EIC to do so. Gee & Jenson, as
previously stated, did not request nor obtain approval from the EIC to omit the
flashing. Therefore, in accordance with the pertinent provisions of the A-E Guide
as well as FAR 52.236-23, plaintiff may not rely upon the government’s overall
approval of the project to avoid its responsibility for installation of the flashing.


IV.   Whether Gee & Jenson Breached the Standard of Care


       The government, in the alternative, argues that if the court finds that the A-E
Guide and the guide specifications, incorporated into the contract, did not require
Gee & Jenson to include flashing in the building design, “the central issue in this
case becomes whether Gee & Jenson failed to meet the architect’s professional
standard of care in its design of the NISE East building.” Def.’s Mot. at 17, Def.’s
Answer and Counterclaim ¶ 9. The government contends that it hired plaintiff for
its expertise and technical knowledge in architectural engineering. Def.’s Reply at
8. Plaintiff was required under the contract to deliver those architectural services
“in accordance with the best architectural and engineering practices.” Def.’s App.

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at 82 (A-E Guide, Section 5). Because plaintiff failed to meet the standard of care,
the government contends that defendant is entitled to summary judgment as a matter
of law.


       The court, as previously discussed, has determined that the contract was clear
and unambiguous in providing that flashing was a contractual requirement. The
court has determined that Gee & Jenson was contractually obligated to provide
flashing in the design of the NISE East building and that plaintiff’s failure to
comply with this contractual requirement breached the contract. Accordingly, the
court does not find it necessary to address defendant’s alternative argument that Gee
& Jenson breached the standard of care.


V.    Whether the Government Incurred Damages as a Result of Gee &
      Jenson’s Failure to Include Flashing in its Design


       Having determined that plaintiff violated the terms of the contract by its
failure to install flashing, the question remains whether the Navy is owed any
damages as a result of Gee & Jenson’s breach of its A/E contract. In order for a
party to recover breach of contract damages, “a party must allege and establish: (1)
a valid contract between the parties, (2) an obligation or duty arising out of the
contract, (3) a breach of that duty, and (4) damages caused by the breach.” San
Carlos Irrigation and Drainage Dist. v. United States, 877 F.2d 957, 959 (Fed. Cir.
1989); see also C.H. Guernsey & Co. v. United States, 65 Fed. Cl. 582, 595 (2005).



        Plaintiff sets forth the argument that Gee & Jenson’s design was not the cause
of water damage in the NISE East building, and therefore it is not responsible for
any damages claimed by defendant. Gee & Jenson’s main argument in that regard
is that the water damage was caused by Pizzagalli’s poor construction. Plaintiff
argues that Pizzagalli improperly installed the sealant joints between the precast
sills and further asserts that if the sealant joints had been properly prepared and
installed, the government would not have incurred damages. Gee & Jenson also
casts responsibility on the government by contending that if defendant had “a
maintenance plan for checking and replacing the caulking on the building,” the
government would not have experienced the leakage problems. Pl.’s Mot. at 8.

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Gee & Jenson states its argument as follows:


             The sealant joints had failed because the contractor failed
             to properly prepare the sealant and failed to install it
             properly. Mr. Riesberg also admitted that if Pizzagalli
             installed the caulking joints between the precast sills
             properly, the joints would not have allowed water to get
             through, and that a good sealant properly installed would
             last a minimum of 10 years, and can last up to 20 years.
             The Government did not have a maintenance plan for
             checking and replacing the caulking on the building. All
             of the alleged leaks at issue with the precast sill occurred
             within ten years and a maintenance plan would have
             included replacing or repairing the caulking joints within
             that ten year period. Therefore, if the joints had been
             installed properly by Pizzagalli, and if the Government
             maintained the building, the caulking joints between the
             precast sills would never be a problem.


Id. (citations omitted).


       To support its main contention that Gee & Jenson was not the cause of the
water leaks, plaintiff argues that the government’s expert, Mr. Riesberg, testified in
his April 5, 2007 deposition that the poorly installed caulking joints by Pizzagalli
were the cause of the water getting into the building. Mr. Riesberg also testified
that after Pizzagalli repaired the construction defects in 2000, there was no
additional evidence of water damage. Plaintiff contends that even when the
government hired the construction company, Hitt, in March 2005 to make repairs on
both the first and second floors of the building, there was no evidence of water
damage on the first floor. Plaintiff further contends that Mr. Riesberg testified that
there was no evidence of water intrusion on the first floor. Plaintiff argues that
because there was no evidence of water damage on the first floor, the lack of
flashing in the building could not be the cause the water damage:


             Without any evidence of water intrusion into the first

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             floor, one has to ask why was flashing necessary, and
             more importantly, why did the Government perform any
             repairs when no damages or indication of water intrusion
             was present? In fact, the lack of any damages on the first
             floor supports Gee & Jenson’s position that flashing was
             not necessary. Clearly, Gee & Jenson cannot be
             responsible for repair costs on the first floor when there
             was no evidence that repairs were necessary.


             Pl.’s Reply at 20-21. Plaintiff also reasons that Gee &
             Jenson cannot be held responsible for water damage on
             the second floor. According to the government’s expert,
             the water damage was caused by Pizzagalli’s failure to
             “install an upstand on the inside of the flashing as
             required by the design.” Id. at 21. Plaintiff asserts that
             “[s]ince the only reason to perform the repairs on the
             second floor where flashing exists was because of a
             construction defect, Gee & Jenson certainly cannot be
             responsible for [the] [repair] costs.” Id. To support its
             contention, plaintiff relies on C.H. Guernsey, 65 Fed. Cl.
             at 595, for the legal principle that an architect cannot be
             held liable for design defects if the construction contractor
             failed to follow the architect’s design.


       Plaintiff, in this instance, has mischaracterized the government’s position in
this case and completely missed the mark. Defendant asserts that the “pivotal issue
is not the cause of the initial water infiltration in 1998.” Def.’s Reply at 11. The
issue, according to defendant, is whether Gee & Jenson’s failure to include flashing
caused the government to incur costs for a remedial design and mitigative fix. In a
nutshell, the government’s claim is as follows:


             Simply put, the Government’s claim for contract damages
             is not based upon the actual physical water damage to the
             building. Regardless of how the water entered the
             building, Pizzagalli’s workmanship had nothing to do
             with the design’s lack of flashing or its impact upon the

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            life and maintainability of the building. The Government
            seeks damages it incurred as a result of identifying and
            addressing the lack of flashing, including designing and
            implementing an architectural solution to provide
            adequate long term water intrusion protection. Those
            damages are solely attributable to Gee & Jenson’s actions.


Def.’s Mot. at 13 (emphasis added) (footnote and citation omitted).


       The government contends that plaintiff was required to design a building
with flashing to ensure the “life and maintainability” of the building throughout a
fifty year life cycle. Id. Instead, Gee & Jenson designed a building without
flashing that began to leak within one year of construction. To prevent further
damage of the building, defendant was required to seek a long-term solution to the
water intrusion. Initially, defendant states that the Navy wanted to remove all the
windows and precast sills in the building, and then install flashing. However,
defendant found that such a solution would be costly and disruptive to the tenants.
Defendant claims that the cost of that remedy was estimated to be approximately
$455,000 and that this figure did not include pricing for the removal of the
windows. Rather than installing entirely new flashing in the building, the Navy
opted for a far less costly remedial design with a price tag of $99,400. This
remedial design consisted of a “two-stage joint, in which the outer joint is a
deterrent seal and the inner seal is a neoprene compressional seal adhered to the
precast sill.” Def.’s Mot. at 16.


        Defendant emphasizes that it did not reprocure a fix which would have
provided the government with that for which it had originally contracted –
installation of flashing – because of the exorbitant expense and disruption to the
tenants. “What the Navy accepted as a substitute once the building had been
constructed cannot be compared with what Gee & Jenson should have designed in
the first place.” Def.’s Mot. at 22. Defendant expected Gee & Jenson to produce a
design which included flashing under the precast sills in the NISE East building as
required under the contract. Instead, plaintiff produced a faulty design without
flashing. To fix plaintiff’s design defect, the Navy was forced to hire a forensic
expert to investigate Gee & Jenson’s design defect, engage a new architect to design
the solution, and reprocure another contractor to install the fix. Id. Defendant

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asserts that Gee & Jenson breached the contract, and thus, is responsible for the
costs incurred by the Navy for the forensic expert, architect, and contractor to
determine and effect the remedial design.


       The court is once again in agreement with defendant. The issue with respect
to damages is not who caused the water damage, or how much water damage
became evident, or when, since none of those issues were determinative of the
breach of contract in this case.16 The point that the government rightly makes is that
it contracted for flashing to be included in the design in order to guard against water
damage to the building throughout the useful life of the structure and in order to
prolong the life of the building. As this court has found, plaintiff breached its
contract with the Navy by failing to provide flashing in its design. After
investigating the matter and determining that plaintiff had, in fact, neglected to
include flashing in its design and after determining that water issues were a
problem, the Navy offered to allow plaintiff to remedy the breach itself, which offer
the plaintiff declined. Thereupon, the Navy took the necessary steps to effectuate a
mitigative fix to the problem.


       In accordance with basic contract principles, “[t]he remedy for breach of
contract is damages sufficient to place the injured party in as good a position as it
would have been had the breaching party fully performed.” Indiana Mich. Power
Co. v. United States, 422 F.3d 1369, 1373 (Fed. Cir. 2005). The damages necessary
to place the Navy in as good a position as it would have been had Gee & Jenson
included flashing in its original design, overall, are the types of damages incurred
and claimed by defendant in this case. The government here seeks “the costs of
procuring the design of the remedial fix, the cost of constructing the remedial fix

       16
         / Plaintiff claims that Pizzagalli caused water damage as a result of poor workmanship.
Pizzagalli’s poor workmanship is not dispositive with respect to the issue of breach of contract.
As stated above, the absence of a flashing design is the basis upon which the court found breach
of contract by plaintiff. To the extent that Pizzagalli engaged in poor workmanship which
caused leakage, the court notes that Gee & Jenson, under its Title II inspection duties, had the
responsibility to inspect the overall construction of the NISE East building, yet plaintiff failed to
report these deficiencies to the Navy. See Def.’s App. at 271.

      The court also notes that Pizzagalli wrote the Navy asserting that it had repaired all water
damage to the NISE East building for which it was responsible. Def.’s App. at 426-27.
Defendant’s claims in this suit were not founded on water damage. Def.’s Mot. at 13.

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and the cost of the forensic consultation and report necessary to identify Gee &
Jenson’s architectural deficiencies.” Def.’s Reply at 14 (footnote omitted).
Defendant acknowledges a dispute with the quantum assessed against plaintiff for
the forensic study and report, and correctly observes that this dispute does not
preclude the court from making a determination on liability. Id. n.11.


       The court has determined the issue of liability, and holds that plaintiff is
liable for the damages that the government has incurred as a result of the faulty
design. However, the court, at this juncture, is not prepared to determine the issue
of damages for two reasons. First, plaintiff disputes the damages assessed for the
forensic study and report, which is a significant portion of the damages claimed.
Second, the record is not clear as to what portion of the costs pertaining to the
actual design and construction of the remedial fix plaintiff challenges, if any.
Because of the lack of clarity pertaining to the amount of damages, the court directs
the parties to confer in an effort to stipulate to the correct amount of damages. The
parties are directed to file a joint status report regarding their progress on this matter
on or before December 8, 2008. The court holds in abeyance defendant’s request
for costs and attorney fees until after the issue of damages has been resolved, unless
the parties also arrive at a settlement which includes these matters as well.


                                    CONCLUSION


      For the foregoing reasons, it is hereby ORDERED that


             (1)    Plaintiff’s Motion for Summary Judgment, filed
                    October 31, 2007, is DENIED;


             (2)    Defendant’s Cross-Motion for Summary Judgment,
                    filed January 18, 2008, is GRANTED.


             (3)    The parties shall CONFER and FILE a Joint
                    Status Report on or before December 8, 2008,
                    reporting on their progress towards the
                    determination of damages owed to defendant and a

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           final resolution of defendant’s claims in the subject
           matter.


                                      /s/Lynn J. Bush
                                      LYNN J. BUSH
                                      Judge




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